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                           UNITED STATES DISTRICT COURT

                             DISTRICT OF SOUTH DAKOTA

                                 SOUTHERN DIVISION

  UNITED STATES OF AMERICA,                  )       CR. 10-40004-06-KES
                                             )
              Plaintiff,                     )
                                             )
     vs.                                     )        ORDER DENYING
                                             )     DEFENDANT’S MOTION TO
  PATRICIO GUZMAN-ORTIZ,                     )     VACATE COURT’S ORDER
                                             )     GRANTING CONTINUANCE
              Defendant.                     )

           Defendant, Patricio Guzman-Ortiz, moves to vacate the court’s

  August 10, 2011, order granting codefendant Rodney James Newcomb’s

  motion to continue trial and deadline dates and, alternatively, to sever his

  trial from that of his codefendants. The government resists. The motion to

  vacate is denied.

                                    BACKGROUND

           The pertinent facts to this order are as follows: The original indictment

  in this case dated January 5, 2010, charged Viengxay Chantharath and

  Vang Somsawat with conspiracy to distribute methamphetamine. Docket 1.

  In a second superseding indictment dated April 7, 2010, Guzman-Ortiz was

  added as a codefendant in the conspiracy to distribute methamphetamine

  charge, along with Jeffrey Arthur Kriz, Mario Maldonado, and Aurelio Angel

  Solorio. Docket 54.

           The third superseding indictment, dated May 4, 2010, added Jason

  Leach, Daniel Navarrette, and Kevin Boxdorfer as codefendants in the
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  conspiracy. Docket 111. The fourth superseding indictment, dated August 3,

  2010, added Bruce Ross as a codefendant in the conspiracy. Docket 194.

         The fifth superseding indictment, dated March 2, 2011, added

  Rosendo Garcia-Navarro and one person not yet arrested as codefendants in

  the conspiracy. Docket 366. The sixth superseding indictment, dated June 7,

  2011, added Felicia Ann Omara, Michelle Cherie Feiss, Rodney James

  Newcomb, and two persons not yet arrested as codefendants in the

  conspiracy. Docket 408.

        Many of the codefendants charged in this conspiracy have already

  pleaded guilty and some have already been sentenced. The remaining

  codefendants are Chantharath, Maldonado, Guzman-Ortiz, Garcia-Navarro,

  Omara, Feiss, Newcomb, and the three persons not yet arrested. On

  August 9, 2011, Newcomb moved to continue the trial and motion deadline

  dates because his counsel needed additional time to adequately review the

  voluminous discovery produced in this case. The court granted the motion

  and continued the trial date that was set for September 13, 2011, to

  October 4, 2011. Docket 481.

                                  DISCUSSION

  I.    Speedy Trial Act

        Guzman-Ortiz contends that the court’s August 10, 2011, continuance

  order violated his Speedy Trial Act and Sixth Amendment rights. The Speedy

  Trial Act provides that dismissal of an indictment is appropriate if a


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  defendant is not brought to trial within the statutory time period. 18 U.S.C.

  § 3162(a)(2). The Eighth Circuit has held that “[t]he Speedy Trial Act requires

  that a federal criminal defendant be brought to trial within 70 days of his

  indictment or arraignment, whichever is later, . . . subject to excludable

  periods of time catalogued in the statute,” namely in § 3161(c)(1) and

  § 3161(h). United States v. Elmardoudi, 501 F.3d 935, 941 (8th Cir. 2007). A

  defendant bears the burden to show that his Speedy Trial Act rights have

  been violated. United States v. Williams, 557 F.3d 943, 950 (8th Cir. 2009)

  (citing United States v. Cordova, 157 F.3d 587, 599 (8th Cir. 1998)).

        Section 3161(h)(6) provides that time is excluded from the speedy trial

  clock for “[a] reasonable period of delay when the defendant is joined for trial

  with a codefendant as to whom the time for trial has not run and no motion

  for severance has been granted.” The last arraignments for the newly-added

  codefendants from the sixth superseding indictment, Omara and Newcomb,

  occurred on July 5, 2011, Docket 452, which “reset” Guzman-Ortiz’s speedy

  trial clock.

        Even though Guzman-Ortiz’s speedy trial clock was reset on July 5,

  2011, the court had earlier granted a motion for a continuance setting the

  trial date to July 19, 2011. Docket 391. Continuances may be excluded from

  the speedy trial clock calculation:

        Any period of delay resulting from a continuance granted by any
        judge on his own motion or at the request of the defendant or his
        counsel or at the request of the attorney for the Government, if

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        the judge granted such continuance on the basis of his findings
        that the ends of justice served by taking such action outweigh the
        best interest of the public and the defendant in a speedy trial. No
        such period of delay resulting from a continuance granted by the
        court in accordance with this paragraph shall be excludable
        under this subsection unless the court sets forth, in the record of
        the case, either orally or in writing, its reasons for finding that
        the ends of justice served by the granting of such continuance
        outweigh the best interests of the public and the defendant in a
        speedy trial.

  18 U.S.C. § 3161(h)(7)(A). Because the court found that the interests of

  justice were served by the continuance and no defendant, including Guzman-

  Ortiz, objected, the period from April 5, 2011, until July 19, 2011, is

  excludable from the speedy trial clock calculation.

        On June 27, 2011, the court continued trial until August 30, 2011, and

  reasoned that the ends of justice per § 3161(h)(7)(A) were met in this

  continuance. Docket 439. Thus, the time from June 27, 2011, to August 30,

  2011, is excludable from the speedy trial clock. On August 10, 2011, the

  court granted Newcomb’s motion for a continuance, which continued the jury

  trial to October 4, 2011. Docket 481. Because the court found that the

  interests of justice were served by the continuance, this time is also

  excludable from the speedy trial clock under § 3161(h)(7)(A).1


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          Even if the August 16 order for continuance was not in the interests of
  justice because Guzman-Ortiz objected to the continuance, the time period up
  until August 30, 2011, is excludable. Further, Guzman-Ortiz filed this motion
  to vacate the court’s August 10 scheduling order and to sever his trial from his
  codefendants on August 16, 2011. The time period from August 16 until the
  date of this order is also excludable. See § 3161(h)(1)(H) (reasoning that “delay
  reasonably attributable to any period, not to exceed thirty days, during which

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        Since the last codefendants’ arraignments on July 5, 2011, which reset

  Guzman-Ortiz’s speedy trial clock, the court has continued the trial date

  under a series of orders that fulfill the requirements of § 3161(h)(7)(A). As a

  result, not more than 70 days of time countable under the Speedy Trial Act

  will have passed from July 5, 2011, until October 4, 2011. Consequently,

  Guzman-Ortiz’s speedy trial rights have not been violated.

  II.   Sixth Amendment

        Guzman-Ortiz further argues that the delay in his trial violates the

  Sixth Amendment. While the court separately analyzes Sixth Amendment and

  Speedy Trial Act claims, “[i]t would be unusual to find the Sixth Amendment

  has been violated when the Speedy Trial Act has not.” United States v.

  Titlbach, 339 F.3d 692, 699 (8th Cir. 2003) (citing United States v. Sprouts,

  282 F.3d 1037, 1042 (8th Cir. 2002)). The court utilizes a four-factor

  balancing test in analyzing whether a pretrial delay violates the Sixth

  Amendment: (1) the delay’s length; (2) the reason for the delay; (3) whether

  the defendant asserted his right to a speedy trial; and (4) whether the

  defendant suffered any prejudice. Titlbach, 339 F.3d at 699 (citing Barker v.

  Wingo, 407 U.S. 514, 530 (1972)).

        The first Barker factor is a “ ‘double inquiry.’ ” United States v. McGhee,

  532 F.3d 733, 739 (8th Cir. 2008) (quoting United States v. DeGarmo, 450



  any proceeding concerning the defendant is actually under advisement by the
  court” is excluded from the speedy trial clock).

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  F.3d 360, 364 (8th Cir. 2006)). First, the “ ‘accused must allege that the

  interval between accusation and trial has crossed the threshold dividing

  ordinary from presumptively prejudicial delay.’ ” Id. (quoting DeGarmo, 450

  F.3d at 364-65). A delay “approaching” one year may be considered

  presumptively prejudicial. Titlbach, 339 F.3d at 699 (citations omitted).

  Guzman-Ortiz was indicted on April 7, 2010,2 and, therefore, it will be about

  an 18-month delay if Guzman-Ortiz goes to trial on October 4, 2011. Thus,

  Guzman-Ortiz has met the threshold showing that the delay is presumptively

  prejudicial.

        Once the defendant makes this initial showing, the court next

  considers “ ‘as one factor among several, the extent to which the delay

  stretches beyond the bare minimum needed to trigger judicial examination of

  the claim.’ ” McGhee, 532 F.3d at 739 (quoting DeGarmo, 450 F.3d at 365).

  The bare minimum for a delay to be trigger judicial examination is about 12

  months, and the delay here is almost 18 months. A delay of six months over

  the threshold for the presumptively prejudicial time period weighs in favor of

  granting Guzman-Ortiz’s motion.


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          On March 1, 2010, Guzman-Ortiz was arrested on state charges, but
  these charges are inapplicable to when the federal speedy trial clock begins.
  See United States v. MacDonald, 456 U.S. 1, 10 n.11 (1982) (“Of course, an
  arrest or indictment by one sovereign would not cause the speedy trial
  guarantees to become engaged as to possible subsequent indictments by
  another sovereign.”).



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        Under factor two, “in considering a claimed violation of the Sixth

  Amendment . . . ‘the right of a speedy trial is necessarily relative. It is

  consistent with delays and depends upon circumstances. It secures rights to

  a defendant. It does not preclude the rights of public justice.’ ” Von Feldt v.

  United States, 407 F.2d 95, 99 (8th Cir. 1969) (quoting Beavers v. Haubert,

  198 U.S. 77, 87 (1905)); see also Barker, 407 U.S. at 522 (reiterating that a

  defendant’s speedy trial rights are relative (citing Beavers, 198 U.S. at 87)).

  The court examines the reasons for the delay to determine whether the delay

  is valid. Barker, 407 U.S. at 532 (differentiating between delays caused by a

  party’s negligence, overcrowded courts, and deliberate efforts by one party to

  delay the action). A delay does not automatically lead to a finding that the

  Sixth Amendment has been violated. See, e.g., id. at 536 (reasoning that a

  defendant’s Sixth Amendment right to a speedy trial was not violated when

  the delay was five years); McGhee, 532 F.3d at 739-40 (finding no Sixth

  Amendment violation occurred when there was a 915-day delay from arrest to

  trial); United States v. Shepard, 462 F.3d 847, 864-65 (8th Cir. 2006) (holding

  that a 17-month delay did not violate the Sixth Amendment).

        This case involves a complex drug conspiracy. The government has

  continued to add defendants from April of 2010 to June of 2011. Since April

  of 2010, when Guzman-Ortiz was indicted, the court has granted various

  continuances to meet the interests of justice. Guzman-Ortiz has moved for

  two continuances, which the court granted. See Dockets 104 and 136.

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  Guzman-Ortiz did not oppose any motion to continue until he filed this

  motion. Additionally, one of the codefendants, Chantharath, moved for a

  competency exam on January 6, 2011. Docket 351. Chantharath’s

  competency report, which found him competent, was not filed until April 15,

  2011.

          “ ‘In general, persons charged in a conspiracy or jointly indicted on

  similar evidence from the same or related events should be tried together.’ ”

  United States v. Donnell, 596 F.3d 913, 923 (8th Cir. 2010) (quoting United

  States v. Jones, 880 F.2d 55, 63 (8th Cir. 1989)); see also United States v.

  Andrade, 788 F.2d 521, 529 (8th Cir. 1986) (reasoning that “persons charged

  with having been involved in a single conspiracy should ordinarily be tried

  together.” (citing United States v. Rochon, 575 F.2d 191, 197 (8th Cir. 1978))).

  The continuances in this case, including the continuance during

  Chantharath’s competency exam, have facilitated the preference for

  codefendants charged in a single-count drug conspiracy indictment to be

  tried together. Moreover, until the August 9, 2011, motion to continue by

  defendant Newcomb, Guzman-Ortiz had no objection to the continuances

  ordered by the court. After considering all of the circumstances surrounding

  the delays, the court finds that the second factor weighs in favor of denying

  Guzman-Ortiz’s motion.

          Under the third factor, defendants maintain responsibility to assert

  their speedy trial rights. Barker, 407 U.S. at 529. Guzman-Ortiz did not

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  assert his speedy trial rights until he filed this motion on August 16, 2011.

  This case is currently scheduled for trial beginning on October 4, 2011, but

  Guzman-Ortiz argues that his case should be tried on September 13, 2011.

  While a significant amount of time has passed between Guzman-Ortiz’s

  indictment and his trial date, there is only about a three-week delay between

  the September 13, 2011, trial date, and the October 4, 2011, trial date. The

  third factor weighs neither in favor of granting nor in favor of denying

  Guzman-Ortiz’s motion.

        The fourth factor, prejudice, analyzes three interests: (1) preventing

  oppressive pretrial incarceration; (2) minimizing the accused’s anxiety and

  concern; and (3) limiting the possibility that the defense will be impaired.

  Barker, 407 U.S. at 532. Guzman-Ortiz has been incarcerated during the

  delay. “And although anxiety and concern are present in every case, this

  alone does not demonstrate prejudice.” McGhee, 532 F.3d at 740 (citing

  Shepard, 462 F.3d at 865).

        The most serious factor is the third factor, which examines, among

  other facts, whether the defendant’s witnesses have become unavailable due

  to the delay. Barker, 407 U.S. at 532. A defendant must show actual or

  presumed prejudice from the delay. United States v. Erenas-Luna, 560 F.3d

  772, 779 (8th Cir. 2009). District courts can presume prejudice if the

  government acts negligently in prosecuting the case. Id.




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         Guzman-Ortiz argues that “one or more witnesses have either gone into

hiding or have been deported since the Government has repetitively added

new defendants . . . these witnesses would have testified that he was not

involved in the conspiracy case or involved with guns.” Docket 486 at 3-4.

But Guzman-Ortiz does not provide the identity of any of these witnesses and

this is the first time that Guzman-Ortiz has claimed that witnesses

necessary for his case are no longer available.

         Furthermore, Guzman-Ortiz asked for and received two of the

continuances. He did not object until now to any of the continuance requests

by his codefendants and the United States. See Barker, 407 U.S. at 534

(“More important than the absence of serious prejudice,” however, “is the fact

that [the defendant] did not want a speedy trial.” ). Guzman-Ortiz has not

argued that witnesses will become unavailable between his original trial date

of September 13 and the current trial date of October 4.

         Guzman-Ortiz has not demonstrated any actual prejudice from the

three-week delay. And because there is no allegation that the government

acted negligently in prosecuting this case, there is also no presumed

prejudice. Therefore, the fourth factor weighs against granting Guzman-

Ortiz’s motion. After balancing all of the Barker factors, the court finds that

there is no violation of Guzman-Ortiz’s Sixth Amendment right to a speedy

trial.




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                                CONCLUSION

      Guzman-Ortiz moves to vacate the court’s August 10, 2011,

continuance order on the grounds that the order violates his Speedy Trial Act

and Sixth Amendment rights. There is no violation of the Speedy Trial Act

because all the delays in this case are excludable from the speedy trial clock

calculation. There is also no violation of Guzman-Ortiz’s Sixth Amendment

rights because even though the delay is almost 18 months, the reasons for

the delay were continuances and motions made in good faith by both sides,

and Guzman-Ortiz has not demonstrated prejudice from the delay. The court

reserves ruling on Guzman-Ortiz’s motion to sever. Accordingly, it is

      ORDERED that defendant’s motion to vacate the court’s scheduling

order (Docket 485) is denied. The court reserves ruling on defendant’s motion

to sever (Docket 485).

      Dated September 2, 2011.

                               BY THE COURT:



                               /s/ Karen E. Schreier
                               KAREN E. SCHREIER
                               CHIEF JUDGE




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